     Case 3:08-cr-00007-LRH-CLB Document 103 Filed 01/11/21 Page 1 of 2




1

2

3

4

5

6                             UNITED STATES DISTRICT COURT

7                                    DISTRICT OF NEVADA
8
                                                ***
9     UNITED STATES OF AMERICA,                   Case No. 3:08-cr-00007-LRH-CLB

10                                      Plaintiff, ORDER
11          v.
12
      CHARLES A. BOROWY,
13
                                     Defendant.
14

15         Before the court is defendant Charles A. Borowy's Motion for Early Termination
16   of supervised release (ECF No. 100). The government has not filed an opposition.
17         Borowy was convicted of Possession of Child Pornography in 2009 and received
18   45 months of imprisonment to be followed by a lifetime term of supervised release. His
19   term of supervised release commenced in June 2012. He is currently 58 years of age.
20         In September 2018, Borowy admitted to violating his supervised release,
21   specifically the pornography prohibition prohibiting him from using, viewing or
22   possessing pornography, that he also failed prior polygraph examinations concerning a
23   violation of this prohibition and that he had used a "wiping program" on his cell phone
24   after clearing searches for pornography.
25         On April 9, 2019, Borowy appeared before the court for sentencing and he was
26   reinstated on supervision subject to continued counseling and completion of community
27   service ordered by the court. The parties agreed that it would be appropriate for the
28
                                                  1
     Case 3:08-cr-00007-LRH-CLB Document 103 Filed 01/11/21 Page 2 of 2




1    court to hold a status conference approximately a year later to ensure Borowy's

2    continued compliance with supervised release.

3          A status conference was scheduled for Monday, April 6, 2020, and the status

4    conference was subsequently vacated following confirmation that Borowy had remained

5    in compliance with the terms of his supervision.

6          The court appreciates Borowy's progress while on supervised release and notes

7    that he has been subject to continued counseling and has been cooperative with the

8    probation office. However, the court is very concerned about the nature of his original

9    offense involving child pornography, questionable behavior involving children while on

10   supervised release, and the nature of his admitted violation of supervised release in

11   2018. Good cause appearing,

12         IT IS HEREBY ORDERED that defendant's Motion for Early Termination of

13   supervised release (ECF No. 100) is DENIED.

14         IT IS SO ORDERED.

15         DATED this 11th day of January, 2021.

16

17                                                      LARRY R. HICKS
                                                        UNITED STATES DISTRICT JUDGE
18

19
20

21

22

23

24

25

26

27

28
                                                 2
